New York Southern Live System                                        h ps://nysb‐ecf.sso.dcn/cgi‐bin/DktRpt.pl?793306044624144‐L_1_0‐1
            Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 1 of 10

                                                   U.S. Bankruptcy Court
                                          Southern District of New York (Manha an)
                                            Adversary Proceeding #: 20‐01061‐shl
                                                         Internal Use Only


           Assigned to: Judge Sean H. Lane                                   Date Filed: 03/17/20
           Lead BK Case: 18‐13359                                            Date Removed From State: 03/17/20
           Lead BK Title: Miami Metals I, Inc., et al.
           Lead BK Chapter: 11
           Demand:
           Nature[s] of Suit: 02 Other (e.g. other ac ons that would have been brought in state court if unrelated to
                                 bankruptcy)


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Coopera eve Rabobank U.A., New York Branch            represented by Sco Jay Feder
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                                                                               Coral Gables, FL 33146
                                                                               (305) 669‐0060
                                                                               Fax : (305) 699‐4220
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                                                                               LEAD ATTORNEY

                                                                                Andrew T. Solomon
                                                                                Solomon & Cramer LLP
                                                                                25 West 39th Street
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                                                                                Fax : 516‐368‐3896
                                                                                Email: asolomon@solomoncramer.com
                                                                                LEAD ATTORNEY


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Brown Brothers Harriman & Co.                         represented by Sco Jay Feder
                                                                               (See above for address)
                                                                               LEAD ATTORNEY

                                                                                Andrew T. Solomon
                                                                                (See above for address)
                                                                                LEAD ATTORNEY




1 of 10                                                                                                            4/21/2021, 3:08 PM
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            Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 2 of 10


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Bank Hapoalim B.M.                        represented by Sco Jay Feder
                                                                   (See above for address)
                                                                   LEAD ATTORNEY

                                                                    Andrew T. Solomon
                                                                    (See above for address)
                                                                    LEAD ATTORNEY


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Mitsubishi Interna onal Corpora on        represented by Sco Jay Feder
                                                                   (See above for address)
                                                                   LEAD ATTORNEY

                                                                    Andrew T. Solomon
                                                                    (See above for address)
                                                                    LEAD ATTORNEY


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          ICBC Standard Bank PLC                    represented by Sco Jay Feder
                                                                   (See above for address)
                                                                   LEAD ATTORNEY

                                                                    Andrew T. Solomon
                                                                    (See above for address)
                                                                    LEAD ATTORNEY


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Techemet Metal Trading, LLC               represented by Sco Jay Feder
                                                                   (See above for address)
                                                                   LEAD ATTORNEY

                                                                    Andrew T. Solomon
                                                                    (See above for address)
                                                                    LEAD ATTORNEY


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Woodforest Na onal Bank                   represented by Sco Jay Feder



2 of 10                                                                                                4/21/2021, 3:08 PM
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               Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 3 of 10

                                                                       (See above for address)
                                                                       LEAD ATTORNEY

                                                                       Andrew T. Solomon
                                                                       (See above for address)
                                                                       LEAD ATTORNEY


          Plain ﬀ
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Hain Capital Investors Master Fund, Ltd.     represented by Sco Jay Feder
                                                                      (See above for address)
                                                                      LEAD ATTORNEY

                                                                       Andrew T. Solomon
                                                                       (See above for address)
                                                                       LEAD ATTORNEY


          V.

          Defendant
          ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          Crowe LLP                                    represented by Amanda Catalano
                                                                      Tabet DiVito & Rothstein LLC
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                                                                       Stuart Kagen


3 of 10                                                                                                   4/21/2021, 3:08 PM
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           Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 4 of 10

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                                                                  Fernando laTour Tamayo
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                                                                  Email: amayo@coﬀeyburlington.com
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                                                                  Miami, FL 33133
                                                                  (306) 858‐2900
                                                                  Email: jthornton@coﬀeyburlington.com
                                                                  LEAD ATTORNEY

                                                                  Jordan Wilkow


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New York Southern Live System                                h ps://nysb‐ecf.sso.dcn/cgi‐bin/DktRpt.pl?793306044624144‐L_1_0‐1
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                                                                        Tabet DiVito & Rothstein LLC
                                                                        209 S. LaSalle Street
                                                                        Ste 7th Floor
                                                                        Chicago, IL 60604
                                                                        312‐762‐9450
                                                                        Email: jwilkow@tdrlawfirm.com


            Filing Date            #                                         Docket Text

                                1                    Adversary case 20‐01061. Copy of Cer fied Order
                                (850 pgs; 22 docs)   Transferring Case No. 1:20‐cv‐1556 (LGS) from the U.S.
                                                     District Court, S.D.N.Y. to the U.S. Bankruptcy Court,
                                                     S.D.N.Y. (Receipt Number 113C118463, Fee Amount $
                                                     350.). Nature(s) of Suit: (02 (Other (e.g. other ac ons that
                                                     would have been brought in state court if unrelated to
                                                     bankruptcy))) Filed by Sco Jay Feder, Andrew T. Solomon
                                                     on behalf of Coopera eve Rabobank U.A., New York
                                                     Branch, Brown Brothers Harriman & Co., Bank Hapoalim
                                                     B.M., Mitsubishi Interna onal Corpora on, ICBC Standard
                                                     Bank PLC, Techemet Metal Trading, LLC, Woodforest
                                                     Na onal Bank, Hain Capital Investors Master Fund, Ltd..
                                                     (A achments: # 1 Doc 2 Mo on # 2 Doc 5 No ce # 3 Doc
                                                     6 Mo on # 4 Doc 7 Mo on # 5 Doc 8 Mo on # 6 Doc 10
                                                     Response # 7 Doc 11 Response # 8 Doc 12 Reply # 9 Doc
                                                     13 Reply # 10 Doc 14 Mo on # 11 Doc 16 Order # 12 Doc
                                                     17 Trans Order # 13 Doc 18 No ce of Appearance # 14
                                                     Doc 19 Le er # 15 Doc 20 Memo Endorsed # 16 Doc 21
                                                     No ce # 17 Doc 22 Le er # 18 Doc 23 Le er # 19 Doc 24
                                                     Order # 20 Doc 25 SDNY Transfer # 21 SDNY Docket
          03/17/2020                                 Sheet) (Pisarczyk, Gladys) (Entered: 03/17/2020)

                                2                    No ce of Pre‐Trial Conference for a Removed Case with
                                (1 pg)               Pre‐Trial Conference set for 4/30/2020 at 10:00 AM at
                                                     Courtroom 701 (SHL), (Porter, Minnie) (Entered:
          03/18/2020                                 03/18/2020)

                                3                    Mo on for A achment for Admission to Prac ce, Pro Hac
                                (2 pgs)              Vice filed by Jordan Wilkow on behalf of Crowe LLP.
          03/18/2020                                 (Wilkow, Jordan) (Entered: 03/18/2020)

                                4                    Applica on for Pro Hac Vice Admission filed by John M.
                                (2 pgs)              Fitzgerald on behalf of Crowe LLP. (Fitzgerald, John)
          03/18/2020                                 (Entered: 03/18/2020)




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           Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 6 of 10

                                                 Receipt of Applica on for Pro Hac Vice Admission(
                                                 20‐01061‐shl) [mo on,122] ( 200.00) Filing Fee. Receipt
                                                 number AXXXXXXXX. Fee amount 200.00. (Re: Doc # 4)
          03/18/2020                             (U.S. Treasury) (Entered: 03/18/2020)

                                5                Mo on for A achment for Admission to Prac ce, Pro Hac
                                (2 pgs)          Vice filed by Mark H Horwitch on behalf of Crowe LLP.
          03/18/2020                             (Horwitch, Mark) (Entered: 03/18/2020)

                                6                Applica on for Pro Hac Vice Admission filed by Caesar A.
                                (2 pgs)          Tabet I on behalf of Crowe LLP. (Tabet, Caesar) (Entered:
          03/18/2020                             03/18/2020)

                                                 Receipt of Applica on for Pro Hac Vice Admission(
                                                 20‐01061‐shl) [mo on,122] ( 200.00) Filing Fee. Receipt
                                                 number AXXXXXXXX. Fee amount 200.00. (Re: Doc # 6)
          03/18/2020                             (U.S. Treasury) (Entered: 03/18/2020)

                                7                Mo on for A achment Admission to Prac ce, Pro Hac
                                (2 pgs)          Vice filed by Amanda Catalano on behalf of Crowe LLP.
          03/18/2020                             (Catalano, Amanda) (Entered: 03/18/2020)

                                8                Applica on for Pro Hac Vice Admission filed by Mark H
                                (2 pgs)          Horwitch on behalf of Crowe LLP. (Horwitch, Mark)
          03/18/2020                             (Entered: 03/18/2020)

                                9                Applica on for Pro Hac Vice Admission filed by Amanda
                                (2 pgs)          Catalano on behalf of Crowe LLP. (Catalano, Amanda)
          03/18/2020                             (Entered: 03/18/2020)

                                10               Applica on for Pro Hac Vice Admission filed by Jordan
                                (2 pgs)          Wilkow on behalf of Crowe LLP. (Wilkow, Jordan)
          03/18/2020                             (Entered: 03/18/2020)

                                                 Receipt of Applica on for Pro Hac Vice Admission(
                                                 20‐01061‐shl) [mo on,122] ( 200.00) Filing Fee. Receipt
                                                 number 205889. Fee amount 200.00. (Re: Doc # 8)
          03/19/2020                             (Lewis) (Entered: 03/19/2020)

                                                 Receipt of Applica on for Pro Hac Vice Admission(
                                                 20‐01061‐shl) [mo on,122] ( 200.00) Filing Fee. Receipt
                                                 number 205899. Fee amount 200.00. (Re: Doc # 10)
          03/19/2020                             (Lewis) (Entered: 03/19/2020)




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           Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 7 of 10

                                                  Receipt of Applica on for Pro Hac Vice Admission(
                                                  20‐01061‐shl) [mo on,122] ( 200.00) Filing Fee. Receipt
                                                  number 205899. Fee amount 200.00. (Re: Doc # 9)
          03/19/2020                              (Lewis) (Entered: 03/19/2020)

                                11                Order Signed On 3/19/2020, Gran ng Applica on For Pro
                                (1 pg)            Hac Vice Re: Jordan E. Wilkow (Related Doc # 10) (Ebanks,
          03/19/2020                              Liza) (Entered: 03/19/2020)

                                12                Order Signed On 3/19/2020, Gran ng Applica on For Pro
                                (1 pg)            Hac Vice Re: John M. Fitzgerald. (Related Doc # 4)(Ebanks,
          03/19/2020                              Liza) (Entered: 03/19/2020)

                                13                Order Signed On 3/19/2020, Gran ng Applica on For Pro
                                (1 pg)            Hac Vice Re: Mark H. Horwitch (Related Doc # 8) (Ebanks,
          03/19/2020                              Liza) (Entered: 03/19/2020)

                                14                Order Signed On 3/19/2020, Gran ng Applica on For Pro
                                (1 pg)            Hac Vice Re: Caesar A. Tabet. (Related Doc # 6) (Ebanks,
          03/19/2020                              Liza) (Entered: 03/19/2020)

                                15                Order Signed On 3/19/2020, Gran ng Applica on For Pro
                                (1 pg)            Hac Vice Re: Amanda N. Catalano (Related Doc # 9)
          03/19/2020                              (Ebanks, Liza) (Entered: 03/19/2020)

                                16                Mo on to Extend Time to Answer or otherwise Respond
                                (5 pgs; 2 docs)   to Complaint filed by Stuart Kagen on behalf of Crowe
                                                  LLP. (A achments: # 1 Exhibit Proposed Order) (Kagen,
          03/20/2020                              Stuart) (Entered: 03/20/2020)

                                17                Le er to update the Court on the status of this adversary
                                (2 pgs)           proceeding and to request that the Court hold an ini al
                                                  telephonic status conference for this case on April 2, 2020
                                                  (at 10:00 a.m.) to coincide with the Hearing currently
                                                  scheduled in the main bankruptcy case on that date. Filed
                                                  by Andrew T. Solomon on behalf of Bank Hapoalim B.M.,
                                                  Brown Brothers Harriman & Co., Coopera eve Rabobank
                                                  U.A., New York Branch, Hain Capital Investors Master
                                                  Fund, Ltd., ICBC Standard Bank PLC, Mitsubishi
                                                  Interna onal Corpora on, Techemet Metal Trading, LLC,
                                                  Woodforest Na onal Bank. (Solomon, Andrew) (Entered:
          03/20/2020                              03/20/2020)

                                18                Le er regarding request for an ini al telephonic status
                                (3 pgs)           conference on April 2, 2020 Filed by Stuart Kagen on
                                                  behalf of Crowe LLP. (Kagen, Stuart) (Entered:
          03/23/2020                              03/23/2020)



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New York Southern Live System                               h ps://nysb‐ecf.sso.dcn/cgi‐bin/DktRpt.pl?793306044624144‐L_1_0‐1
           Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 8 of 10

                                19                  No ce of Hearing filed by Andrew T. Solomon on behalf
                                (2 pgs)             of Bank Hapoalim B.M., Brown Brothers Harriman & Co.,
                                                    Coopera eve Rabobank U.A., New York Branch, Hain
                                                    Capital Investors Master Fund, Ltd., ICBC Standard Bank
                                                    PLC, Mitsubishi Interna onal Corpora on, Techemet
                                                    Metal Trading, LLC, Woodforest Na onal Bank. with
                                                    hearing to be held on 4/7/2020 at 10:30 AM at
                                                    Courtroom 701 (SHL) (Solomon, Andrew) (Entered:
          04/01/2020                                04/01/2020)

                                20                  No ce of Hearing on Defendant's Unopposed Mo on For
                                (2 pgs)             Extension Of Time To Answer Or Otherwise Respond To
                                                    Complaint (related document(s)16) filed by Stuart Kagen
                                                    on behalf of Crowe LLP. with hearing to be held on
                                                    4/7/2020 (check with court for loca on) (Kagen, Stuart)
          04/02/2020                                (Entered: 04/02/2020)

                                21                  Order Signed On 4/2/2020, Gran ng Defendant's
                                (1 pg)              Unopposed Mo on For Extension Of Time To Answer Or
                                                    Otherwise Respond To Complaint To April 15, 2020.
          04/02/2020                                (Related Doc # 16) (Ebanks, Liza) (Entered: 04/02/2020)

                                22                  Mo on to Dismiss Adversary Proceeding filed by Caesar
                                (112 pgs; 7 docs)   A. Tabet I on behalf of Crowe LLP. (A achments: # 1
                                                    Memorandum of Law in Support of Mo on to Dismiss # 2
                                                    Exhibit 1 # 3 Exhibit 2 # 4 Exhibit 3 # 5 Exhibit 4 # 6
          04/02/2020                                Exhibit 5) (Tabet, Caesar) (Entered: 04/02/2020)

                                23                  Mo on to AllowCrowe LLP's Mo on for Leave to File
                                (58 pgs; 2 docs)    Instanter Its Supplemental Memorandum of Law in
                                                    Opposi on to Plain ﬀs' Mo on for Absten on and
                                                    Remand filed by Caesar A. Tabet I on behalf of Crowe LLP.
                                                    (A achments: # 1 Crowe LLP's Supplemental
                                                    Memorandum of Law in Opposi on to Plain ﬀs' Mo on
                                                    for Absten on and Remand) (Tabet, Caesar) (Entered:
          04/06/2020                                04/06/2020)

                                24                  Order Signed On 4/10/2020, Gran ng Defendant's
                                (1 pg)              Mo on For Leave To File Instanter Supplemental
                                                    Memorandum Of Law In Opposi on To Plain ﬀs' Mo on
                                                    For Absten on And Remand. (Related Doc # 23) (Ebanks,
          04/10/2020                                Liza) (Entered: 04/10/2020)

                                25                  Reply to Mo on / Memorandum of Law in Further
                                (25 pgs)            Support of Mo on for Absten on and Remand filed by
                                                    Andrew T. Solomon on behalf of Bank Hapoalim B.M.,
                                                    Brown Brothers Harriman & Co., Coopera eve Rabobank
          04/27/2020                                U.A., New York Branch, Hain Capital Investors Master


8 of 10                                                                                                   4/21/2021, 3:08 PM
New York Southern Live System                              h ps://nysb‐ecf.sso.dcn/cgi‐bin/DktRpt.pl?793306044624144‐L_1_0‐1
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                                                   Fund, Ltd., ICBC Standard Bank PLC, Mitsubishi
                                                   Interna onal Corpora on, Techemet Metal Trading, LLC,
                                                   Woodforest Na onal Bank. (Solomon, Andrew) (Entered:
                                                   04/27/2020)

                                26                 Mo on to AllowCrowe LLP's Mo on for Leave to File
                                (15 pgs; 2 docs)   Instanter Its Reply to Plain ﬀs' Mo on for Absten on and
                                                   Remand filed by Caesar A. Tabet I on behalf of Crowe LLP.
                                                   (A achments: # 1 Exhibit A ‐ Crowe LLP's Reply to
                                                   Plain ﬀs' Mo on for Absten on and Remand) (Tabet,
          04/30/2020                               Caesar) (Entered: 04/30/2020)

                                27                 Order Signed On 5/4/2020, Gran ng Crowe LLPs Mo on
                                (1 pg)             For Leave To File Instanter Its Reply To Plain ﬀs Mo on
                                                   For Absten on And Remand. (Related Doc # 26) (Ebanks,
          05/04/2020                               Liza) (Entered: 05/04/2020)

                                28                 Le er Seeking Leave to Commence Fact Discovery Filed
                                (2 pgs)            by Andrew T. Solomon on behalf of Bank Hapoalim B.M.,
                                                   Brown Brothers Harriman & Co., Coopera eve Rabobank
                                                   U.A., New York Branch, Hain Capital Investors Master
                                                   Fund, Ltd., ICBC Standard Bank PLC, Mitsubishi
                                                   Interna onal Corpora on, Techemet Metal Trading, LLC,
                                                   Woodforest Na onal Bank. (Solomon, Andrew) (Entered:
          03/07/2021                               03/07/2021)

                                29                 Le er responding to Plain ﬀs' March 7 le er re fact
                                (3 pgs)            discovery (related document(s)28) Filed by Caesar A.
                                                   Tabet I on behalf of Crowe LLP. (Tabet, Caesar) (Entered:
          03/09/2021                               03/09/2021)

                                30                 Memorandum Of Decision Signed On 3/24/2021, Re:
                                (17 pgs)           Plain ﬀ's Mo on For Absten on And Remand. (related
          03/24/2021                               document(s)1) (Ebanks, Liza) (Entered: 03/24/2021)

                                31                 No ce of Se lement of an Order Gran ng Mo on for
                                (5 pgs)            Mandatory Absten on and Remand (related
                                                   document(s)30) filed by Andrew T. Solomon on behalf of
                                                   Bank Hapoalim B.M., Brown Brothers Harriman & Co.,
                                                   Coopera eve Rabobank U.A., New York Branch, Hain
                                                   Capital Investors Master Fund, Ltd., ICBC Standard Bank
                                                   PLC, Mitsubishi Interna onal Corpora on, Techemet
                                                   Metal Trading, LLC, Woodforest Na onal Bank. Objec ons
                                                   due by 4/2/2021, (Solomon, Andrew) (Entered:
          03/26/2021                               03/26/2021)

                                32                 Order Signed On 4/9/2021, Gran ng Mandatory
          04/09/2021            (3 pgs)            Absten on And Remand. (Ebanks, Liza) (Entered:



9 of 10                                                                                                  4/21/2021, 3:08 PM
New York Southern Live System                           h ps://nysb‐ecf.sso.dcn/cgi‐bin/DktRpt.pl?793306044624144‐L_1_0‐1
           Case 1:19-cv-23100-DPG Document 18-1 Entered on FLSD Docket 04/21/2021 Page 10 of 10

                                                 04/09/2021)




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